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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,
                                                      CASE NO. 06-20366
       v.                                             JUDGE VICTORIA A. ROBERTS
                                                      MAGISTRATE JUDGE PAUL KOMIVES
ANTHONY HACHEM, D-1,
DAVID EARL VARNER, D-2,
BRETT ANTHONY HANKE, D-3,
SARAH ADAMS, D-4,

               Defendants.
                                         /

                             REPORT AND RECOMMENDATION

I.     RECOMMENDATION: The Court should deny defendant Adams’s motion to dismiss the

indictment (docket #70).

II.    REPORT:

A.     Procedural Background

       On July 12, 2006, the Grand Jury returned a four-count Indictment charging defendants with:

(1) conspiracy to possess with intent to distribute a controlled substance, to wit, five kilograms or

more of cocaine, 21 U.S.C. §§ 841(b)(1)(A), 846; (2) possession of a firearm in furtherance of a drug

trafficking crime, 18 U.S.C. § 924(c); (3) possession of a stolen firearm, 18 U.S.C. § 922(j); and (4)

possession of a firearm by a convicted felon, 18 U.S.C. § 922(g)(1). Each defendant is named in

Counts I through III. Count IV names solely defendant Hachem.

       The basic facts relevant to this motion were adduced at the preliminary examination. Briefly

stated, the government alleges that defendant Hanke proposed a robbery to an individual who turned

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out to be a confidential informant (CI) for the Bureau of Alcohol, Tobacco, Firearms and Explosives

(ATF). The CI informed his ATF handlers, who advised him not to participate in the robbery and

to caution defendant Hanke against commission of the crime. Under the direction of his ATF

handlers, the CI proposed an alternative to defendant Hanke–a robbery of a drug stash house based

on information from a friend of the CI, who was actually an undercover ATF agent. Defendant

Hanke agreed and met the undercover agent, who told Hanke that he was a drug courier who had

access to a multiple kilograms of cocaine stored at a stash house. Defendant Hanke agreed to the

robbery, but was later incarcerated on an unrelated state charge. Subsequently, the CI heard from

defendant Varner, who told the CI that he knew of the planned robbery and wanted to participate.

Varner indicated that his cousin (an unindicted juvenile coconspirator) and defendant Hachem also

wanted to participate in the robbery. Varner and Hachem met with the undercover agent numerous

times over the next several weeks to plan the robbery. Defendant Hanke was released from prison

during this time, and according to the government rejoined the conspiracy at that time. Defendant

Adams was also recruited during this time to be a driver. On June 21, 2006, defendants, the CI, and

Varner’s cousin drove to the storage unit where the conspirators had agreed to meet the undercover

agent to go to the stash house. Upon their arrival at the storage unit, defendants were arrested.

       On October 13, 2006, defendant Adams filed this motion to dismiss the indictment. The

other defendants have joined in defendant Adams’s motion. Defendants contend that the conduct

of the government in this case was shocking and outrageous, and constitutes a denial of due process.

Defendants argue that the preliminary examination transcript shows beyond dispute that the drug

house robbery plan was initiated, planned, and presented to defendants by government agents.

Defendants further argue that there was never any actual target house or victims to be robbed, or


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drugs to be stolen. Defendants argue that these facts warrant dismissal of Counts I and II on due

process grounds. The government filed a response on November 6, 2006. The government argues

that the facts alleged do not establish outrageous government conduct sufficient to warrant dismissal

of the Indictment.

B.      Analysis

        As a general matter, defendants may not challenge the sufficiency of the evidence through

a pre-trial motion to dismiss the indictment. As the Supreme Court has explained, “[a]n indictment

returned by a legally constituted and unbiased grand jury, like an information drawn by the

prosecutor, if valid on its face, is enough to call for trial of the charges on the merits.” Costello v.

United States, 350 U.S. 359, 363 (1956) (footnote omitted); see also, United States v. Calandra, 414

U.S. 338, 345 (1974) (“[A]n indictment valid on its face is not subject to challenge on the ground

that the grand jury acted on the basis of inadequate or incompetent evidence.”). In other words,

“[w]hen a body of citizens, properly chosen and constituted as a grand jury, finds probable cause

to believe that a crime has been committed within its jurisdiction, that finding is sufficient to require

a trial.” United States v. Short, 671 F.2d 178, 183 (6th Cir. 1982). Nevertheless, under Rule 12 “[a]

party may raise by pretrial motion any defense, objection, or request that the court can determine

without a trial of the general issue.” FED. R. CRIM. P. 12(b)(2). In particular, the outrageous

government conduct defense asserted by defendants is a question of law for the court, and thus

should be brought in a motion to dismiss under Rule 12(b)(2). See United States v. Nguyen, 250

F.3d 643, 645-46 (8th Cir. 2001).

        Under existing law, there are two species of entrapment–legal entrapment and outrageous

conduct. See United States v. Warwick, 167 F.3d 965, 974 (6th Cir. 1999). Under the classic


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entrapment defense, a defendant must establish both government inducement of the crime and a lack

of predisposition to commit the crime. See Mathews v. United States, 485 U.S. 58, 63 (1988). The

presence of the predisposition element renders the entrapment inquiry one for the jury, rarely

amenable to resolution by a court as a matter of law. See id. Regardless of the defense they intend

to raise at trial, defendants’ motion to dismiss is not based on the legal entrapment defense.

       Rather, defendants’ motion is based on the outrageous conduct defense suggested by the

Supreme Court in United States v. Russell, 411 U.S. 423 (1973). In that case, the Court rejected a

defendant’s entrapment defense which was based solely on the government’s conduct, explaining

that the entrapment defense focuses instead on the defendant’s predisposition to commit the offense.

See id. at 431. In dicta, however, the Court suggested that it might “some day be presented with a

situation in which the conduct of law enforcement agents is so outrageous that due process principles

would absolutely bar the government from invoking judicial process to obtain a conviction.” Id. at

431-32. Subsequent case law calls into question whether this outrageous conduct defense, however,

actually exists. The Supreme Court has never actually held that such a defense exists. Further, in

Hampton v. United States, 425 U.S. 484 (1976), a four-Justice plurality opinion authored by then-

Justice Rehnquist–who had also authored the Court’s opinion in Russell–rejected such a defense

outright. See id. at 489 (plurality op.). Justice Powell, concurring in the judgment, was not prepared

to go so far in that case, but recognized an appropriate case might lead to the conclusion that the

defense does not exist. See id. at 494 n.5 (Powell, J., concurring in the judgment). Likewise,

although some Sixth Circuit cases suggest the existence of the defense, in at least two cases the Sixth

Circuit appears to have rejected the defense outright. See United States v. Mack, 53 F.3d 126, 128

(6th Cir. 1995); United States v. Tucker, 28 F.3d 1420, 1426-28 (6th Cir. 1994). In light of this case


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law, it is doubtful that a due process defense based on outrageous government conduct actually

exists. See United States v. Winddancer, 435 F. Supp. 2d 687, 700 (M.D. Tenn. 2006).

       Nevertheless, the Court need not resolve this issue because, even if the defense exists in the

abstract, defendants have not established it on the facts adduced at the preliminary examination.

Defendants’ outrageous conduct defense is based on the government agents’ (including the CI as

a government agent) (a) inducement of and (b) significant involvement in the crime. However, the

Sixth Circuit has explicitly rejected each of these governmental actions as bases for the outrageous

conduct defense. See United States v. Blood, 435 F.3d 612, 629 (6th Cir. 2006) (internal quotation

omitted) (“We have held that the outrageous government conduct defense is not available where the

defense is based either on a theory of government inducement, or on a theory that the undercover

officer’s involvement in creating the crime was so significant that criminal prosecution violates due

process.”); Warrick, 167 F.3d at 975 (agent’s significant involvement in creating crime did not

support outrageous conduct defense). Notably, the Eleventh Circuit has twice rejected the

outrageous government conduct defense as applied to facts nearly identical to those present here.

See United States v. Paisley, 178 Fed. Appx. 955, 961-62 (11th Cir. 2006); United States v. Sanchez,

138 F.3d 1410, 1413-14 (11th Cir. 1998).

       In short, defendants’ outrageous conduct defense is based on their arguments that the

government agents induced and were significantly involved in the crime. Even assuming that an

outrageous government conduct defense exists, these arguments are insufficient to state such a

defense under governing Sixth Circuit law. Accordingly, the Court should deny defendants’ motion

to dismiss.

C.     Conclusion


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       In view of the foregoing, the Court should deny defendants’ motion to dismiss Counts I and

II of the Indictment.

III.    NOTICE TO PARTIES REGARDING OBJECTIONS:

       The parties to this action may object to and seek review of this Report and Recommendation,

but are required to act within ten (10) days of service of a copy hereof as provided for in 28 U.S.C.

§ 636(b)(1) and E.D. Mich. LR 72.1(d)(2). Failure to file specific objections constitutes a waiver

of any further right of appeal. Thomas v. Arn, 474 U.S. 140 (1985); Howard v. Secretary of Health

& Human Servs., 932 F.2d 505 (6th Cir. 1991); United States v. Walters, 638 F.2d 947 (6th Cir.

1981). Filing of objections which raise some issues but fail to raise others with specificity, will not

preserve all the objections a party might have to this Report and Recommendation. Willis v.

Secretary of Health & Human Servs., 931 F.2d 390, 401 (6th Cir. 1991); Smith v. Detroit Federation

of Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). Pursuant to E.D. Mich. LR 72.1(d)(2),

a copy of any objections is to be served upon this Magistrate Judge.

       Within ten (10) days of service of any objecting party's timely filed objections, the opposing

party may file a response. The response shall be not more than five (5) pages in length unless by

motion and order such page limit is extended by the Court. The response shall address specifically,

and in the same order raised, each issue contained within the objections.




                                               s/Paul J. Komives
                                               PAUL J. KOMIVES
                                               UNITED STATES MAGISTRATE JUDGE
Dated: 1/26/07


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                                    The undersigned certifies that a copy of the foregoing
                                    order was served on the attorneys of record by electronic
                                    means or U.S. Mail on January 26, 2007.

                                                                s/Eddrey Butts
                                                                Case Manager




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